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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

CHARLES LYONS,                                )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )      CIVIL CASE NO. 1:19-cv-276-ECM
                                              )                (WO)
WILLIAM MADDOX, et al.,                       )
                                              )
       Defendants.                            )

                                        ORDER

       Now pending before the Court is the Plaintiff’s motion for an extension of time to

file an appeal (doc. 82) filed on October 12, 2021.          Pursuant to Fed. R. App. P.

4(a)(5)(A)(i), the Plaintiff may seek an extension of time to file an appeal provided that the

“party so moves no later than 30 days after the time prescribed by this Rule 4(a) expires.”

Id. The Plaintiff filed his motion for an extension of time on October 12, 2021, which is

within 30 days after the expiration of the time to file an appeal. Because the motion was

“filed after the expiration of the prescribed time, notice must be given to the other parties

in accordance with local rules.” Fed. R. App. P. 4(a)(5)(B).             Accordingly, upon

consideration of the motion, and for good cause, it is

       ORDERED that on or before October 27, 2021, the opposing parties shall show

cause why the motion should not be granted.

       Done this 20th day of October, 2021.



                                          /s/ Emily C. Marks
                                    EMILY C. MARKS
                                    CHIEF UNITED STATES DISTRICT JUDGE
